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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

     UNITED STATES OF AMERICA,

                    Plaintiff,

     v.                                            Case No. 8:05-cr-183-T-26MSS
                                                            8:00-cr-120-T-30EAJ
     JESUS MOJICA,

                    Defendant.
                                             /

                                             ORDER

                    THIS CAUSE is before the court on the Defendant’s Motion for Pretrial

     Release (Doc. 56). By this motion, the Defendant requests the court revisit its order of

     detention and fashion conditions that will allow him release pending the trial of this

     cause. A hearing on the motion was conducted on August 3, 2005. After careful

     consideration of the arguments and a review of the court file and, in particular, orders of

     detention or release entered on the co-defendants, the court hereby DENIES the

     Defendant’s motion. While the evidence adduced at the hearing indicates that the

     Defendant has substantial ties to the Middle District of Florida and that he can likely

     overcome the statutory presumption that he is a risk of flight, the court is unable to

     conclude that he can overcome the statutory presumption that he is a danger to the

     community of continued criminal activity should he be released. As reflected in the

     Order of Detention (Doc. 16), at the time of the alleged instant offenses, the Defendant

     was on supervised release for a prior methamphetamine conviction. While the Defendant

     urges that the evidence of guilt is weak in the instant offense, the information proffered
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     by the government suggests otherwise. In these circumstances, the court affirms its prior

     Order of Detention pending trial.

                   Done and Ordered in Tampa, Florida, this 4th day of August 2005.




     Copies furnished to:
     Lee Bentley, Assistant United States Attorney
     Brian Bieber, Counsel for Defendant




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